     Case 1:09-cv-00430-AWI-EPG Document 430 Filed 05/18/17 Page 1 of 7



 1    BENJAMIN D. BROWN (SBN 202545)
      bbrown@cohenmilstein.com
 2    COHEN MILSTEIN SELLERS & TOLL, PLLC
      1100 New York Avenue, N.W.
 3    Suite 500, West Tower
      Washington, D.C. 20005
 4    Telephone: (202) 408-4600
      Facsimile: (202) 408-4699
 5
      Counsel for Plaintiffs and the Proposed Class
 6
      [Additional counsel listed on signature page]
 7

 8

 9                               UNITED STATES DISTRICT COURT

10                              EASTERN DISTRICT OF CALIFORNIA

11                                         FRESNO DIVISION

12
      GERALD CARLIN, JOHN RAHM, PAUL                  Case No. 1:09 CV 00430-AWI (EPG)
13    ROZWADOWSKI and DIANA WOLFE,
      individually and on behalf of themselves and    CLASS ACTION
14    all others similarly situated,
                                                      STIPULATION AND ORDER
15                                    Plaintiffs,     REGARDING DEPOSITIONS OF
                                                      CALIFORNIA DAIRIES’ FORMER
16    v.                                              EMPLOYEES AND OF NON-PARTIES
                                                      BIMEMILLER AND ELLINGSWORTH
17    DAIRYAMERICA, INC., and
      CALIFORNIA DAIRIES, INC.,
18
                                      Defendants.
19

20

21

22

23

24

25

26
27

28
     Case 1:09-cv-00430-AWI-EPG Document 430 Filed 05/18/17 Page 2 of 7



 1            WHEREAS, on May 12, 2017, this Court permitted the parties to file a stipulation and

 2    proposed order modifying the current schedule to take the depositions of non-parties

 3    Lani Ellingsworth and Candice Bimemiller and three current or former employees of Defendant

 4    California Dairies until such time as Plaintiffs’ motion to amend the complaint is resolved (Doc.

 5    428).

 6            WHEREAS, on November 14, 2016, the parties submitted a Stipulation Governing

 7    Discovery Issues (Doc. 368). Per that stipulation, the parties agreed to, among other things, stay

 8    all deposition discovery pending either Judge Ishii's denial of Plaintiffs’ anticipated motion to

 9    amend the complaint or the filing of Defendants’ answer to that amended complaint, except for

10    the depositions of Ellingsworth, Bimemiller, and three current or former California Dairies

11    employees. The stipulation expressly states that those depositions would be permitted to proceed

12    “to help facilitate settlement.” Id.

13            WHEREAS, on December 5, 2016, the Court issued an order on that stipulation, the

14    Order Granting in Part and Denying in Part Proposed Order Governing Discovery Issues (Doc.

15    371) (“Discovery Order”), permitting those five depositions to proceed per the parties’

16    agreement and, further, requiring them to be taken by June 30, 2017. Additionally, the Court

17    limited document and written discovery to the claims and parties upheld in the Third Amended

18    Complaint, thereby staying document and written discovery regarding the additional allegations
19    in Plaintiffs’ proposed Fourth Amended Complaint until resolution of the motion to amend.

20            WHEREAS, after the Court’s Discovery Order was issued, and pursuant to settlement

21    discussions, Plaintiffs shared with Defendants their draft proposed Fourth Amended Complaint.

22    The parties proceeded with a private mediation on December 20, 2016, after which settlement

23    discussions continued through the mediator for many weeks. No settlement was reached. On

24    February 9, 2017, Plaintiffs filed their motion to amend the complaint. Through the proposed

25    Fourth Amended Complaint, Plaintiffs seek to add a California class of dairy farmers, add two

26    new defendants (Dairy Farmers of America and Land O’Lakes), and add allegations and claims
27    based in part on information contained in the declarations of Ellingsworth and Bimemiller. The

28
     Case 1:09-cv-00430-AWI-EPG Document 430 Filed 05/18/17 Page 3 of 7



 1    motion to amend has now been fully briefed and was taken under submission by Judge Ishii on

 2    May 8, 2017.

 3           WHEREAS, in accordance with the Court’s Discovery Order, DairyAmerica issued

 4    subpoenas for the depositions of non-parties Ellingsworth and Bimemiller, and Plaintiffs issued

 5    notices for the depositions of three former California Dairies employees. Further, the parties

 6    appeared for an informal telephonic conference before the Court on Wednesday, May 3, 2017, to

 7    discuss the Ellingsworth and Bimemiller depositions, which were subject to motions to quash

 8    filed by their respective attorneys.

 9           WHEREAS, since that informal telephonic conference, the parties have met and

10    conferred further and have agreed that the interests of efficiency, economy, and expediency

11    would be best served by postponing all five depositions until such time as Judge Ishii denies

12    Plaintiffs’ motion to amend or Defendants file their answers to the Fourth Amended Complaint.1

13    There is good cause for this postponement that applies equally to all five depositions. In their

14    proposed Fourth Amended Complaint, Plaintiffs seek to add a class of California dairy farmers,

15    add two new defendants, and add allegations and claims against Defendants based in part on

16    information contained in the declarations of Ellingsworth and Bimemiller. Accordingly, since

17    the scope of Plaintiffs’ claims is subject to change, and additional parties may be added to the

18    case, the parties wish to postpone all depositions until such time as the scope of claims and
19    parties is resolved. Furthermore, in accordance with and since the Court’s December 5, 2016

20    order, the parties were not required to respond to written discovery relating to the potential

21    additional allegations in the proposed Fourth Amended Complaint, which would likely be

22    addressed in each of the five depositions at issue.

23           WHEREAS, the parties believe and agree that postponing all five depositions is the most

24    efficient and expedient way to proceed under the circumstances, and the least burdensome to the

25
      1
26           Plaintiffs have also met and conferred with counsel for non-parties Ellingsworth and
      Bimemiller, and in the interests of efficiency and to avoid undue burden including potential
27    multiple depositions, they support this agreement to postpone the depositions of their clients.
28
     Case 1:09-cv-00430-AWI-EPG Document 430 Filed 05/18/17 Page 4 of 7



 1    deponents, all of whom are former employees of Defendants and therefore subject to subpoena.

 2    If the depositions take place prior to the decision on the motion to amend the complaint, the

 3    deponents may be subject to multiple depositions due to the unresolved nature of the pleadings

 4    and parties, and the parties may not have the benefit of certain written discovery relevant to an

 5    amended complaint in conducting such depositions.

 6           WHEREAS, this modification of the scheduling order is sought only for purposes of

 7    efficiency and not for purposes of delay.

 8           IT IS STIPULATED, subject to court approval, that the June 30, 2017 deadline to take

 9    the depositions of Ms. Ellingsworth, Ms. Bimemiller, and three depositions of current or former

10    California Dairies employees be vacated. Within fourteen days of either an answer to the Fourth

11    Amended Complaint or an order denying leave to file a Fourth Amended Complaint, the parties

12    shall submit a proposed schedule for taking these depositions with the status report and proposed

13    amended scheduling order.

14

15    DATED: May 17, 2017                   Respectfully submitted,

16                                          BERMAN DeVALERIO
17

18                                          By:     /s/ A. Chowning Poppler
                                                    A. Chowning Poppler (SBN 272870)
19
                                            Joseph J. Tabacco, Jr. (SBN 75484)
20                                          Christopher T. Heffelfinger (SBN 118058)
                                            44 Montgomery Street, Suite 650
21                                          San Francisco, CA 94104
                                            Telephone: (415) 433-3200
22                                          Facsimile: (415) 433-6382
                                            Email: jtabacco@bermandevalerio.com
23                                                 cheffelfinger@bermandevalerio.com
                                                   cpoppler@bermandevalerio.com
24

25

26
27

28
     Case 1:09-cv-00430-AWI-EPG Document 430 Filed 05/18/17 Page 5 of 7


                                   Benjamin D. Brown (SBN 202545)
 1                                 COHEN MILSTEIN SELLERS
 2                                    & TOLL, PLLC
                                   1100 New York Avenue, N.W.
 3                                 Suite 500, West Tower
                                   Washington, DC 20005
 4                                 Telephone: (202) 408-4600
                                   Facsimile: (202) 408-4699
 5                                 Email: bbrown@cohenmilstein.com
 6
                                   George F. Farah
 7                                 COHEN MILSTEIN SELLERS
                                      & TOLL, PLLC
 8                                 88 Pine Street
                                   14th Floor
 9                                 New York, NY 10005
                                   Telephone: (212) 838-7797
10                                 Facsimile: (212) 838-7745
                                   Email: gfarah@cohenmilstein.com
11
                                   Lynn L. Sarko
12                                 Mark A. Griffin
                                   Cari Campen Laufenberg
13                                 KELLER ROHRBACK L.L.P.
                                   1201 Third Avenue, Suite 3200
14                                 Seattle, WA 98101
                                   Telephone: (206)-623-1900
15                                 Facsimile: (206)-623-3384
                                   Email: lsarko@kellerrohrback.com
16                                         mgriffin@kellerrohrback.com
                                           claufenberg@kellerrohrback.com
17
                                   Ron Kilgard
18                                 KELLER ROHRBACK L.L.P.
                                   3101 North Central Avenue, Suite 1400
19                                 Phoenix, AZ 85012
                                   Telephone: (602)-248-0088
20                                 Facsimile: (602)-248-2822
                                   Email: rkilgard@kellerrohrback.com
21
                                   Counsel for Plaintiffs and the Proposed Class
22

23

24

25

26
27

28
     Case 1:09-cv-00430-AWI-EPG Document 430 Filed 05/18/17 Page 6 of 7



 1    Dated: May 17, 2017          DAVIS WRIGHT TREMAINE LLP

 2
                                   By:    /s/ Allison A. Davis
 3                                        Allison A. Davis (SBN 139203)
 4                                 Sanjay M. Nangia (# 264986)
                                   505 Montgomery Street, Suite 800
 5                                 San Francisco, CA 94111-6533
                                   Telephone: (415) 276-6500
 6                                 Facsimile: (415) 276-6599
                                   Email: allisondavis@dwt.com
 7                                        sanjaynangia@dwt.com
 8                                 Charles M. English, Jr.
                                   DAVIS WRIGHT TREMAINE LLP
 9                                 1919 Pennsylvania Avenue, N.S., Suite 800
                                   Washington, D.C. 20006-3401
10                                 Telephone: (202) 973-4272
                                   Facsimile: (202) 973-4499
11                                 Email: chipenglish@dwt.com
12                                 Joseph M. Marchini
                                   BAKER MANOCK & JENSEN, PC
13                                 5260 North Palm Avenue,
                                   Fourth Floor
14                                 Fresno, CA 93704
                                   Telephone: (559) 432-5400
15                                 Facsimile: (549) 432-5620
                                   Email: jmarchini@bakermanock.com
16
                                   Counsel for Defendant DairyAmerica, Inc.
17
      Dated: May 17, 2017          HANSON BRIDGETT LLP
18
19                                 By:    /s/ Megan Oliver Thompson
                                          Megan Oliver Thompson (SBN 256654)
20
                                   Lawrence M. Cirelli (SBN 114710)
21                                 Shannon M. Nessier (SBN 267644)
                                   425 Market Street, Suite 2600
22
                                   San Francisco, CA 94105
                                   Telephone: (415) 777-3200
23                                 Facsimile: (415) 541-9366
                                   Email: lcirelli@hansonbridgett.com
24                                        moliverthompson@hansonbridgett.com
                                          snessier@hansonbridgett.com
25

26                                 Counsel for Defendant California Dairies, Inc.

27

28
     Case 1:09-cv-00430-AWI-EPG Document 430 Filed 05/18/17 Page 7 of 7



 1
                                                  ORDER
 2
             For the reasons provided in the parties’ stipulation, the June 30, 2017 deadline to take
 3
      the depositions of Ms. Ellingsworth, Ms. Bimemiller, and three depositions of current or former
 4
      California Dairies employees is vacated. Within fourteen days of either an answer to the Fourth
 5
      Amended Complaint or an order denying leave to file a Fourth Amended Complaint, the parties
 6
      shall submit a proposed schedule for taking the depositions with a status report.
 7
             The remainder of the December 5, 2016 order (ECF No. 371) remains in effect.
 8

 9    IT IS SO ORDERED.
10

11
         Dated:     May 17, 2017                               /s/
                                                        UNITED STATES MAGISTRATE JUDGE
12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28
